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S C H I L L E R




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                         Counsel for Plaintiffs
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                    14                  UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    15
B O I E S




                    16 BROIDY CAPITAL MANAGEMENT               Case No. 2:18-cv-02421-JFW (Ex)
                       LLC and ELLIOTT BROIDY,
                    17                                         DECLARATION OF LEE S.
                    18           Plaintiffs,                   WOLOSKY IN SUPPORT OF
                                                               PLAINTIFFS’ OPPOSITION TO
                    19         v.                              DEFENDANT STATE OF QATAR’S
                    20                                         EX PARTE APPLICATION FOR
                       STATE OF QATAR, STONINGTON              EXPEDITED HEARING ON ITS
                    21 STRATEGIES LLC, NICOLAS D.              MOTION TO STAY DISCOVERY
                    22 MUZIN, GLOBAL RISK ADVISORS
                       LLC, KEVIN CHALKER, DAVID               [Memorandum of Points and
                    23 MARK POWELL, MOHAMMED BIN               Authorities filed concurrently herewith]
                    24 HAMAD BIN KHALIFA AL THANI,
                       AHMED AL-RUMAIHI, and DOES 1-           The Honorable John F. Walter
                    25 10,
                    26                                         Amended Complaint: May 24, 2018
                                 Defendants.
                    27
                    28
                                                                                   Case No. 18-cv-02421-JFW
                                                                          DECLARATION OF LEE S. WOLOSKY
                  Case 2:18-cv-02421-JFW-E Document 68-1 Filed 06/05/18 Page 2 of 3 Page ID #:926




                    1                    DECLARATION OF LEE S. WOLOSKY
                    2          I, Lee S. Wolosky, hereby declare as follows:
                    3         1.    I am a Partner at the law firm of Boies Schiller Flexner LLP. I
                    4 represent Plaintiffs in this action.
                    5         2.    Between April 26, 2018 and May 4, 2018, I, along with my
                    6 Partners at Boies Schiller Flexner LLP, negotiated the substance and language
                    7 of a joint stipulation and proposed order filed on May 4, 2018 that addressed,
L L P




                    8 among other things, the timing of a then-anticipated motion to stay discovery
F L E X N E R




                    9 by Defendant State of Qatar. See ECF Nos. 45, 45-1.
                   10         3.    This Court entered the proposed order on May 7, 2018. See
                   11 Order on Stipulation to Schedule for Filing Amended Complaint and Motion
S C H I L L E R




                   12 to Dismiss and Order Stay Discovery, ECF No. 46 (“Stipulation and Order”).
                   13         4.    The negotiations regarding the content of the Stipulation and
                   14 Order transpired over the course of approximately thirty-two emails and two
                   15 telephonic conference calls. At least twelve of the emails addressed the
B O I E S




                   16 specific language of the stipulation.
                   17         5.    During these negotiations, the parties knew or should have
                   18 known of the return date of July 2, 2018 on the existing discovery requests,
                   19 the negotiated date for moving to lift the partial stay of discovery, and the
                   20 requirements of Local Rule 6-1.
                   21         6.    Defendant State of Qatar did not request to advance the hearing
                   22 date for its motion to stay during the negotiations of the Stipulation and Order.
                   23         7.    Nor did Defendant State of Qatar raise any request for an
                   24 expedited hearing during the 28 days between agreeing to the schedule
                   25 contemplated by the Stipulation and Order and June 1, 2018, when it first
                   26 provided notice of its intent to file an ex parte application requesting the same.
                   27
                   28                                         -- 2 --             Case No. 18-cv-02421-JFW
                                                                         DECLARATION OF LEE S. WOLOSKY
                  Case 2:18-cv-02421-JFW-E Document 68-1 Filed 06/05/18 Page 3 of 3 Page ID #:927




                    1          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that
                    2 the foregoing is true and correct.
                    3                                      Respectfully submitted,
                    4
                        Dated: June 5, 2018                BOIES SCHILLER FLEXNER LLP
                    5
                                                           By:   /s/ Lee S. Wolosky
                    6
                                                                 LEE S. WOLOSKY
                    7                                            Counsel for Plaintiffs
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F L E X N E R




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S C H I L L E R




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                   28                                        -- 3 --              Case No. 18-cv-02421-JFW
                                                                         DECLARATION OF LEE S. WOLOSKY
